CASE 0:07-cv-03764-ADM-JSM Doc. 1-1 Filed 08/21/07 Page 1 of 10

Azotic Coating Technology, Inc., a Minnesota corporation v. Signity Americas, Limited, a Delaware Corporation
and Richard Pollak, an individual
Court File No.

EXHIBIT A
AUG-17-c2CO7CFRI} 13:1] Azotic Coating Technology Inc = (FAX) 5072800260 P.O02/00e
CASE 0:07-cv-03764-ADM-JSM Doc. 1-1 Filed 08/21/07 Page 2 of 10

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August 13, 2007

Via Certified /Return Receipt Mail
7006 C810 0007 4652 8996

Mr. Ronald H. Kcarnes, President
Azotic Coating Technology

921 37TH Avenuc North-West
Rochester, Minnesota 55901

Dear Sit:

We represent Signity Ameticas, Limited (“SIGNITY”) and it has come to our attention that under
your direction and control Azotic Coating Technology has been making, using and offering for sale color
enhanced gemstones, particularly cobalt products, including those under the allegedly proprietary Myrtapia™
process that appear to be covered by at least United States Letters Patents Numbets 6,635,309 and
5,888,918, A number of inconsistent statements made in your marketing materials and upon your web-site
take it unclear how it is that you claim, for example, to use cobalt to enhance gemstones by a mechanism
which is not within the scope of these patents. This letter is sent on behalf of both SIGNITY and Mr.
Richard Pollack.

At this time we formalize the legal notice that enforcement rights in these patents belong to
SIGNITY, and we ask that you provide us with a lcpally and technically sufficient explanation as to how no
diffusion is used in your process to color your gemstoncs with cobalt. For case of reference copies of these
patents are attached to this letter for your review. As time is of the essence, please provide us with yout
complete responses to the above allepations within thirty (30) days of this lettcr. Please be informed that
STGNITY reserves the tight to exercise all rights and remedies related to those subject matters and
intcllcctual property tights enumerated this letter, iter aia, We look forwatd to hearing from you, and thank
you for your valuable time.

Mi subn Hue
Peter J. Glick /

Shareholder
GREENBERG TRAURIG

cc: Stephen Kahler
Edwatd Capobianco
sandr Wechselberger

ATTORNEY WORK PRODUCT

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CASE 0:07-cv-03764-ADM-JSM

az United States Patent

TM

06635309B2

(10) Patent No.: US 6,635,309 B2

Pollak (45) Date of Patent: Oct. 21, 2003
(54) PROCESS FOR THE COLOR 3,897,529 A * 7/1975 Carr et al.
ENHANCEMENT OF GEMSTONES 5,888,918 A 3/1999 Pollak wo. eeceeeseeeeeseeee 501/86
(76) Inventor: Richard D. Pollak, 3133 Via de FOREIGN PATENT DOCUMENTS
Caballo, Encinitas, CA (US) 92024 BR 200001034 * 11/2001
SU 1686045 * 10/1991

(*) Notice: Subject to any disclaimer, the term of this

patent is extended or adjusted under 35
U.S.C. 154(b) by 0 days.

(21) Appl. No.: 09/803,218
(22) Filed: Mar. 12, 2001
(65) Prior Publication Data

US 2002/0128145 Al Sep. 12, 2002

(51) Int. CL? eects BOSD 1/12; BOSD 3/02;
C30B 29/00; A44C 17/00

(52) U.S. Che vc eeseseesneee 427/190; 427/192; 427/383.3;
501/86; 63/32; 428/426; 428/432

(58) Field of Search wo... ccs 427/180, 190-192,
427/217, 383.1, 383.3, 250, 255, 281, 255.37,

255.7, 397.7, 377; 428/15, 543, 426, 432,

539.5; 501/86; 63/32

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U.S. PATENT DOCUMENTS
3,616,357 A * 10/1971 Haynes

* cited by examiner

Primary Examiner—Fred J. Parker
(74) Attorney, Agent, or Firm—Don E. Erickson

(57) ABSTRACT

In accordance with the present invention, there are provided
methods for enhancing the color of gemstone(s) by subject-
ing a combination of a gemstone and at least one finely
divided form of a selected treating agent including the
element copper to a temperature in the range of about 700°
C. up to about 1000° C., for a time period in the range of
about 3 hours up to about 600 hours, under conditions
suitable to enhance the color of the gemstone, wherein the
treating agent consists of a finely divided form of the
selected treating agent such as copper metal or copper oxide,
and wherein said gemstone is topaz or sapphire and the
enhanced color lies in the color spectrum of light yellow to
red.

19 Claims, No Drawings
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PROCESS FOR THE COLOR
ENHANCEMENT OF GEMSTONES

FIELD OF THE INVENTION

The present invention relates to methods for enhancing
the color of gemstones and to novel colored gemstones
produced by invention methods.

BACKGROUND OF THE INVENTION

A variety of materials having the physical and aesthetic
properties desirable for use as gemstones are widely avail-
able. However, many of these materials but do not always
have an aesthetically pleasing appearance. A variety of
procedures have been employed in the art to improve the
physical and/or aesthetic properties of minerals, e.g., elec-
tron beam irradiation, Cobalt-60 irradiation, neutron
bombardment, exposure to intense heat, and the like.

More recently, the inventor herein developed a process for
enhancing a minerals usable as gemstones by subjecting a
combination of a gemstone and at least one form of cobalt
metal or cobalt oxide to conditions suitable to enhance the
color of said gemstone, without causing a significant level of
surface damage to said gemstone. U.S. Pat. No. 5,888,918
was issued to cover said process. Using said process
chrysoberyl, garnet, sapphire and topaz were modified to
have colors in the spectrum of from light green to dark blue,
depending on the gemstone, the treating agent(s) and treat-
ing conditions employed. Quartz was modified to have a
light pink to a dark pink color using the same cobalt
metal/oxide process.

Although the methods of the prior art have been able to
produce colors in gemstones ranging from green to blue,
none of the state of the art processes have been able to
produce gemstones outside the green to blue spectrum
except with quartz. And specifically, treatment of the gem-
stones with cobalt and/or cobalt oxides prevent obtaining
gemstones in the color of the present invention. In addition,
the treatment process of the current invention results in
gemstone enhancement occurring in a far shorter time
period.

Therefore, it would be desirable to be able to readily
impart predictably enhanced and/or modified colors to mate-
rials useful as gemstones employing readily practicable
methods which do not suffer from the drawbacks of prior art
methods and which produce other colors.

BRIEF DESCRIPTION OF THE INVENTION

In accordance with the present invention, methods have
been developed for enhancing the color of minerals useful as
gemstones. The methods include the process of subjecting
the gemstones to a selected temperature while in the pres-
ence of a form of a selected metal, or metal oxide, such
copper/copper oxide, for a selected period of time. Invention
methods are relatively inexpensive to carry out, avoid the
use of hazardous materials, and require no specialized
equipment.

DETAILED DESCRIPTION OF THE
INVENTION

In accordance with the present invention, there are pro-
vided methods for enhancing the color of gemstones, said
methods comprising: subjecting a combination of a gem-
stone and at least one powdered (i.c., finely divided) form of
copper metal or copper oxide to conditions suitable to

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enhance the color of said gemstone, without causing a
significant level of surface damage to said gemstone. To
achieve color enhancement according to the invention, gem-
stones are placed in a suitable vessel (e.g., a flat ceramic
sheet, a crucible, and the like) which can withstand the
exposure temperatures contemplated for use, with the gem-
stones completely surrounded by the treating agent(s) of
choice. The vessel is then placed in a furnace capable of
reaching and accurately maintaining the selected tempera-
ture. Upon treatment of the gemstones it then appears that
the copper oxide or copper metal has either diffused or
bonded with the surface of the gemstone. Although copper
metal or copper oxide are the selected treating agents for the
preferred embodiments of the invention, it should be noted
that other metals and or metal oxides similarly impart a color
that lies in the color spectrum of light yellow to red, e.g.,
iron, however copper metal or copper oxide appears to cause
less surface damage to the gemstone.

A wide variety of minerals can be treated according to the
present invention. Examples of suitable minerals contem-
plated for use herein, thereby rendering them useful as
gemstones, include topaz, sapphire, and the like.

Awide variety of metals can be employed in combination
with the selected copper metal or copper oxide employed in
the invention process. Examples of suitable metals include
transition metals, as well as other metals, which can modify
the color imparted by the treating agent and/or the mineral
being treated.

A wide variety of metals and/or metal oxides can also be
employed in combination with the copper metal or copper
oxide employed in the invention process, optionally in
further combination with a plurality of the metals set forth
hereinabove. Metal oxides are used that can modify the color
imparted by the treating agent and/or the mineral being
treated, or to dilute the coloring agent to enable control of
the saturation of color to the host material, and thereby
controlling the amount of surface damage that may occur on
the surface of the gemstone. The selection of metal oxide
depends on the selected gemstone, and the amount of
damage that may occur on the surface of the gemstone. For
example, aluminum oxide may work as a diluting agent, but
because aluminum oxide reacts with copper, a lesser amount
of copper reacts with topaz resulting is a less saturated color.
On the other hand magnesium oxide serves as an excellent
diluter.

Enhanced colors which can be imparted by the invention
process can be varied based on such variables as the par-
ticular gemstone being treated, the particular treating agent
(s) employed, the conditions to which the gemstones are
subjected, and the like. For example, topaz can be modified
to have a light yellow to orange color, or a light pink to
reddish color, depending on the treating agent(s) and treating
conditions employed. Additionally, increasing or reducing
the amount of oxygen present during treatment may affect
the color itself. For example, after treating the topaz in
copper to impart a yellow color to the topaz, and then
subjecting the enhanced topaz in a reducing atmosphere at
about 800° C. for about 4 hours, the color will begin to
develop a red hue. Sapphire can be treated to have a light
yellow to an orange color, and may be treated at a higher
temperature than topaz. In general silicate minerals at high
temperature will reduce to glass, where sapphire, being an
oxide mineral, can withstand a much higher temperature.

A wide range of treating conditions can be employed in
the practice of the present invention. Typically conditions
suitable to enhance the color of a gemstone, without causing
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a significant level of surface damage thereto, comprise
subjecting the combination of gemstone and at least one
powdered (i.e., finely divided) form of copper metal or
copper oxide to a temperature in the range of about 800° C.
or lower up to about 1000° C. It has been noted with the
current process that gemstones may be treated at a tempera-
ture lower than 800° C., however, the treatment time will be
extended. For example, treatment at about 725° C. will result
in a treatment time of approximately 72 hours, more or less,
depending on the intensity of the color desired. On the other
hand treatment at or about 700° C. may require a significant
increase in treatment time. Typically such contacting is
carried out at ambient pressure.

Generally, longer exposure times and/or higher exposure
temperatures lead to a greater intensity of color being
imparted to the mineral being treated, as well as impacting
the degree of color saturation achieved by the process. As
readily recognized by those of skill in the art, higher treating
temperatures are also possible (i.¢., >1250° C.), ie.,
sapphire, while also providing higher color saturation. The
resulting treated gemstone could be polished to remove the
surface damage, thereby providing a color-enhanced gem-
stone with a satisfactory surface finish.

As readily recognized by those of skill in the art, the
particular temperature ranges and exposure times will not
only vary as a function of the intensity, but also on the level
of color saturation desired. In addition, the ability of a given
mineral to withstand such exposures without suffering sig-
nificant fracturing must also be considered. Thus, for
example, topaz would not typically be subjected to condi-
tions as rigorous as sapphires.

In a particular aspect of the invention, the gemstone to be
treated can optionally be contacted with a variety of post-
trealing agents (e.g., oxygen, reducing agents, and the like)
before being subjected to the above-described conditions
suitable to enhance the color of a gemstone. By post-treating
the gemstones in an oxygen atmosphere, the gemstones may
be made more yellow, while post-treating the gemstones in
a reducing atmosphere, the gemstones begin to take on a red
tint, ranging from orange through pink to red.

While gemstones can be used in the invention treating
process without any special pretreatment, it is presently
preferred that gemstones subjected to the practice of the
invention be cleaned prior to being subjected to said con-
ditions suitable to enhance the color thereof. Suitable clean-
ing processes are well known to those of skill in the art, and
include washing in water, aqueous acid, organic media, and
the like.

Gemstones treated according to the present invention can
be used directly, or they can be subjected to further treatment
and/or washing conditions. It is presently preferred that the
treated gemstone be cleaned after being subjected to said
conditions suitable to enhance the color of a gemstone. Such
cleaning can be accomplished in a variety of ways, e.g., by
washing the treated gemstones with aqueous media or with
organic solvents (e.g., acetone), by wiping the gemstones
with a soft cloth (e.g., a polishing cloth), by polishing the
surface of the gemstones with a suitable abrasive, and the
like.

While the present description contain many specificities,
these should not be construed as limitations on the scope of
the invention, but rather as an exemplification of some
preferred embodiments thereof.

I claim:

1. A method for enhancing the color of gemstone(s), the
method comprising: subjecting a combination of a gemstone

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and at least one finely divided form of a selected treating
agent to a selected temperature for a selected period of time
under conditions suitable to enhance the color of said
gemstone; and

wherein the selected treating agent primarily includes the

element copper.

2. The method of claim 1 wherein the gemstone is
sapphire or topaz.

3. The method according to claim 1, wherein the selected
temperature is in the range from about 700° C. up to about
1250° C.

4. The method of claim 1 wherein the selected time period
is in the range from about 3 hours up to about 600 hours.

5. The method according to claim 1, wherein the gem-
stone is cleaned prior to being subjected to the conditions
suitable to enhance the color of said gemstone.

6. The method of claim 1 wherein the element copper is
in the form of copper metal.

7. The method of claim 1 wherein the element copper is
in the form of copper oxide.

8. The method according to claim 1, wherein subsequent
to the treatment in the presence of the treating agent, the
gemstone is subjected to a temperature in the range of about
700° C. up to about 1250° C. for a time period in the range
of about one-quarter hour up to about 100 hours in a
reducing environment.

9. The method according to claim 1, wherein subsequent
to the treatment in the presence of the treating agent, the
gemstone is subjected to a temperature in the range of about
700° C. up to about 1250° C. for a time period in the range
of about one-quarter hour up to about 100 hours in an
oxidizing environment.

10. A method for enhancing the color of gemstone(s), the
method comprising: subjecting a combination of a gemstone
and at least one finely divided form of a selected treating
agent to a temperature in the range of about 700° C. up to
about 1250° C., for a time period in the range of about 3
hours up to about 600 hours, under conditions suitable to
enhance the color of the gemstone, and wherein the treating
agent primarily inchides a finely divided form of the element
copper.

11. The method according to claim 10 wherein the gem-
stone is cleaned prior to being subjected to the conditions
suitable to enhance the color of said gemstone.

12. The method according to claim 10 wherein, subse-
quent to the treatment in the presence of the selected treating
agent, said gemstone is subjected to a temperature in the
range of about 700° C. up to about 1250° C. in a reducing
environment for a time period in the range of about one-
quarter hour up to about 100 hours.

13. The method according to claim 10 wherein, subse-
quent to said treatment in the presence of the treating agent,
the gemstone is subjected to a temperature in the range of
about 700° C. up to about 1250° C. in an oxidizing envi-
ronment for a time period in the range of about one-quarter
hour up to about 100 hours.

14. The method according to claim 10 wherein the ecle-
ment copper is in the form of copper metal.

15. The method according to claim 10 wherein the ele-
ment copper is in the form of copper oxide.

16. A color enhanced gemstone comprising a gemstone
having a color enhancing agent diffused into an outer surface
of the gemstone and wherein the gemstone is sapphire or
topaz and the enhancing agent is copper metal or copper
oxide.

17. The color enhanced gemstone according to claim 16,
wherein said enhanced color lies in the color spectrum of
yellow to red.
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18. A color enhanced gemstone comprising a gemstone 19. The color enhanced gemstone according to claim 18,
having a surface wherein at least the surface of the gemstone wherein the enhanced color lies in the color spectrum of
has chemically bonded to a color enhancing agent, and yellow to red.
wherein the gemstone is sapphire or topaz and the enhancing
agent is copper metal or copper oxide. se kk #
ee Meti

United States Patent 115

{11} Patent Number: 5,888,918

Pollak [45] Date of Patent: *Mar. 30, 1999
[54] METHOD FOR ENHANCING THE COLOR 3,539,379 11/1970 Mayer ...cesccccesssserseeseesserssenees 117/69
OF MINERALS USEFUL AS GEMSTONES 3,616,357 10/1971 Hayes ..... 204/157.1 H
3,950,996 4/1976 Carr et ale sccccccssesescsssssssonssseet 428/539
[76] Inventor: Richard Pollak, 3133 Via de Caballo, 4,399,364 8/1983 Evans etal. ...... .. 250/492,1
Encinitas, Calif. 92024 4,621,065 11/1986 Isogami et al. .......sssesscsesessereees 501/86
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1.53(d), and is subject to the twenty year ese 4 hone peamiller * al. . “D gan ;
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isda 12), mm provisions of 35 U.S.C. 5,084,909 1/1992 Pollak. eevscrsresen “eee 378/64
. 5,198,265 3/1993 Iacovangelo et al 427/126.2
5,477,055 12/1995 Skold et al. ........ .. 250/492.1
[21] Appl. No.: 845,709 5,637,878 6/1997 Herer et al. cssccsssssssssseusenees 250/492.3
[22] Filed: Apr. 25, 1997
SA] Unt. C18 acess C30B 29/00; A44 , Primary Examiner—Strive Beck
[51] Be /12: BOSD 4/0e Assistant Examiner—Michael Barr
[52] U.S. Cl 501/86; 427 180: 427/190: Attorney, Agent, or Firm-—-Gray Cary Ware & Freidenrich;
427/191; 427/217; 427/383.1; 427/383.3, Stephen E. Reiter
63/32; 428/426; 428/432 [57] ABSTRACT
[58] Field of Search .........cscssssssccssecssseseess 427/180, 190, . . .
427/191, 217, 383.1, 383.3; 501/86; 428/426, In accordance with the present invention, there are provided
432, 539.5; 63/32 methods for enhancing the color of minerals useful as
gemstones. Invention methods are relatively inexpensive to
[56] References Cited carry out, avoid the use of hazardous materials, and require
US. PATENT DOCUMENTS no specialized equipment.
1,814,219 7/1931 Jaeger et al... ecseeseesseesesetesesens 63/32 20 Claims, No Drawings
CASE 0:07-cv-03764-ADM-JSM Doc. 1-1 Filed 08/21/07 Page 8 of 10

5,888,918

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METHOD FOR ENHANCING THE COLOR
OF MINERALS USEFUL AS GEMSTONES

FIELD OF THE INVENTION

The present invention relates to methods for enhancing
the color of gemstones and to novel colored gemstones
produced by invention methods.

BACKGROUND OF THE INVENTION

A variety of materials having the physical and aesthetic
properties desirable for use as gemstones are widely avail-
able. However, many of these materials but do not always
have an aesthetically pleasing appearance. A variety of
procedures have been employed in the art to improve the
physical and/or aesthetic properties of minerals, ¢.g., elec-
tron beam irradiation, Cobalt-60 irradiation, neutron
bombardment, exposure to intense heat, and the like.

Each of the above-described prior art methods suffer from
significant drawbacks in terms of cost, safety, efficacy, and
the like. Therefore, it would be desirable to be able to readily
impart enhanced and/or modified color to materials useful as
gemstones employing readily practiced methods which do
not suffer from the drawbacks of prior art methods.

BRIEF DESCRIPTION OF THE INVENTION

In accordance with the present invention, methods have
been developed for enhancing the color of minerals useful as
gemstones. Invention methods are relatively inexpensive to
carry out, avoid the use of hazardous materials and require
no specialized equipment.

DETAILED DESCRIPTION OF THE
INVENTION

In accordance with the present invention, there are pro-
vided methods for enhancing the color of gemstones, said
methods comprising:

subjecting a combination of a gemstone and at least one

powdered (i.e., finely divided) form of cobalt metal or
cobalt oxide to conditions suitable to enhance the color
of said gemstone, without causing a significant level of
surface damage to said gemstone.

Awide variety of minerals can be treated according to the
present invention. Examples of suitable minerals contem-
plated for use herein (thereby rendering them useful as
gemstones) include topaz, chrysoberyl, sapphire, quartz,
garnet, and the like.

Awide variety of metals can be employed in combination
with the cobalt metal or cobalt oxide employed in the
invention process. Examples of suitable metals include
transition metals, as well as other metals which can modify
the color imparted by the treating agent and/or the mineral
being treated.

A wide variety of metal oxides can also be employed in
combination with the cobalt metal or cobalt oxide employed
in the invention process, optionally in further combination
with a plurality of the metals set forth hereinabove.
Examples of suitable metal oxides include transition metal
oxides, as well as other metal oxides which can modify the
color imparted by the treating agent and/or the mineral being
treated.

Enhanced colors which can be imparted by the invention
process can be varied based on such variables as the par-
ticular gemstone being treated, the particular treating agent
(s) employed, the conditions to which the gemstones are
subjected, and the like. For example, topaz can be modified

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to have a light blue to dark blue color, or a light green to dark
green color, or a light blue-green to dark blue-green color, or
a light green-blue to dark green-blue color, depending on the
treating agent(s) and treating conditions employed.
Similarly, chrysoberyl can be modified to have a light green
to a deep blue-green color; sapphire can be modified to have
a light blue to a dark blue color (if clear stones are used for
treatment) or green, yellow-green or blue-green stones can
be produced if the untreated stones are yellow; quartz can be
modified to have a light pink to a dark pink color; garnet can
be modified to have a green to a blue-green color; and the
like.

A wide range of treating conditions can be employed in
the practice of the present invention. Typically conditions
suitable to enhance the color of a gemstone, without causing
a significant level of surface damage thereto, comprise
subjecting the combination of gemstone and at least one
powdered (i.e., finely divided) form of cobalt metal or cobalt
oxide to a temperature in the range of about 900° C. up to
about 1250° C. for a time in the range of about 3 up to about
200 hours. Typically such contacting is carried out at ambi-
ent pressure.

Generally, longer exposure times and/or higher exposure
temperatures lead to a greater intensity of color being
imparted to the mineral being treated, as well as impacting
the degree of color saturation achieved by the process. As
readily recognized by those of skill in the art, higher treating
temperatures are also possible (i.e., >1250° C.). Such tem-
peratures are likely, however, to cause significant damage to
the surface of the mineral being treated, while also providing
higher color saturation. The resulting treated gemstone
could be polished to remove the surface damage, thereby
providing a color-enhanced gemstone with a satisfactory
surface finish.

As readily recognized by those of skill in the art, the
particular temperature ranges and exposure times will not
only vary as a function of the intensity and/or level of color
saturation desired, in adition, the ability of a given mineral
to withstand such exposures without suffering significant
fracturing must also be considered. Thus, for example,
quartz would not typically be subjected to conditions as
rigorous as topaz.

In a particular aspect of the invention, the gemstone to be
treated can optionally be contacted with a variety of pre-
treating agents (e.g., oxygen, reducing agents, and the like)
before being subjected to the above-described conditions
suitable to enhance the color of a gemstone.

Altematively, or in combination with the above-described
gemstone pretreatment, the gemstone can optionally be
contacted with a variety of supplemental treating agents
(e.g., oxygen, reducing agents, and the like) while being
subjected to the above-described conditions suitable to
enhance the color of a gemstone.

An optional additional treatment contemplated for use
herein comprises subjecting the treated gemstone to further
heating at a temperature in the range of about 900° C. up to
about 1250° C. for an additional length of time in the range
of about 3 up to about 200 hours in the absence of treating
agent (ie., powdered cobalt metal or cobalt oxide) . Typi-
cally such optional additional heat treatment is carried out at
ambient pressure.

While gemstones can be used in the invention treating
process without any special pretreatment, it is presently
preferred that gemstones employed in the practice of the
invention be cleaned prior to being subjected to said con-
ditions suitable to enhance the color thereof. Suitable clean-
ing processes are well known to those of skill in the art, and
include washing in water, aqueous acid, organic media, and
the like.
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Gemstones treated according to the present invention can
be used directly, or they can be subjected to further treatment
and/or washing conditions. It is presently preferred that the
treated gemstone be cleaned after being subjected to said
conditions suitable to enhance the color of a gemstone. Such
cleaning can be accomplished in a variety of ways, ¢.g., by
washing the treated gemstones with aqueous media or with
organic solvents (e.g., acetone), by wiping the gemstones
with a soft cloth (¢.g., a polishing cloth), by polishing the
surface of the gemstones with a suitable abrasive, and the
like.

In accordance with another embodiment of the present
invention, there are provided color enhanced gemstones
having a color enhancing agent diffused into the outer
surface thereof. Color enhancing agents contemplated
include the treating agents described hereinabove.

In accordance with yet another embodiment of the present
invention, there are provided color enhanced gemstones
wherein at least the surface of said gemstone has chemically
bonded thereto a color enhancing agent. Color enhancing
agents contemplated include the treating agents described
hereinabove.

The invention will now be described in greater detail by
reference to the following non-limiting examples.

EXAMPLE i
Optional Cleaning Process

It is presently preferred that gemstones treated in accor-
dance with the present invention be cleaned as follows. First
the stones are treated in gently boiling distilled water
containing a smal] amount of detergent for at least about 12
hours. Once cooled, the stones are then washed with distilled
water until all traces of detergent are removed.

The stones are then soaked at room temperature (or
above) in a 1:1 aqueous dilution of concentrated nitric acid
for about two hours, or more. The stones are then rinsed
thoroughly with distilled water. The stones are then rinsed
with acetone, then rinsed again with distilled water, and
dried.

EXAMPLE 2
General Treatment Protocol

To achieve color enhancement according to the invention,
gemstones are placed in a suitable vessel which can with-
stand the exposure temperatures contemplated for use (e.g.,
a flat ceramic sheet, a crucible, and the like) and completely
surrounded by the treating agent(s) of choice. The vessel is
then placed in a furnace capable of reaching and accurately
maintaining temperatures in the range of about 900° up to
about 1800° C. The furnace is then heated to the desired
temperature and maintained at that temperature for the
desired length of time. Once the desired time and tempera-
ture requirements have been satisfied, the furnace is cooled
down and the vessel containing the gemstones is removed
therefrom.

After the treated gemstones have cooled, they are sepa-
rated from the treating agent. In many instances, the treated
stones need only be wiped clean with a soft cloth or tissue.
In some circumstances (e.g., where the stones are subjected
to particularly rigorous treating conditions or where rela-
tively soft stones are treated), it may be desirable to subject
the stone to a nitric acid bath to clean the surface of the
stone. When such treatment is indicated, concentrated nitric
acid solutions or various dilutions thereof can be used.

EXAMPLE 3
Treatment of Topaz
Topaz can be treated with powdered cobalt metal or cobalt
oxide to achieve a variety of enhanced colors. For example,

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treatment at 900° C. for about 24 hours results in very light
blue stones. Treatment at higher temperature (e.g., 1046° C.)
for about 24 hours results in much darker blue or blue-green
stones. Thus, it is seen that the final color of the treated stone
can be controlled by proper selection of treating conditions.

Once topaz is treated with powdered cobalt metal or
cobalt oxide as described above to achieve a green-blue or
blue-green stone, the color imparted to the stone can be
further modified by subjecting the stones to additional
furnace heating as described above, but in the absence of
treating agent. In this way, the color of the stone can be
shifted to blue.

EXAMPLE 4

Treatment of Chrysoberyl

Chrysobery] is subjected to the same process as described
in Example 3. Since the most common color for chrysoberyl
is light yellow, the color of the treated stone tends to be
yellow-green to blue-green, depending upon the time and
temperature of exposure. If a colorless chrysoberyl is used
in the process, the enhanced color imparted by treatment
with powdered cobalt metal or cobalt oxide is blue.

EXAMPLE 5
Treatment of Sapphire

Sapphire is subjected to the same process as described in
Example 3. Care should be taken in selecting the tempera-
ture to which the stones are heated, as sapphires tend to
develop surface damage when subjected to excessive tem-
peratures. In the event surface damage does occur, the
treated stones can be repolished, producing an intensely
colored finished product.

The color of the treated stone can vary substantially. For
example, a colorless sapphire produces a light blue to dark
blue treated stone, depending upon the original color of the
sapphire. A yellow saphire will produce a green, yellow-
green to blue-green stone, depending upon the time and
temperature of exposure. If a colorless chrysobery] is used
in the process, the enhanced color imparted by treatment
with powdered cobalt metal or cobalt oxide is blue.

EXAMPLE 6

Treatment of Quartz

Quartz is subjected to the same process as described in
Example 3. Care should be taken in selecting the tempera-
ture to which the stones are heated, as quartz tends to
develop surface damage when subjected to excessive tem-
peratures. In the event surface damage does occur, the
treated stones can be repolished, producing a smooth, col-
ored finished product.

The color of the treated stone can vary substantially, with
the invention process typically producing stones which are
light to dark pink.

EXAMPLE 7
Treatment of Garnet

Garnet is subjected to the same process as described in
Example 3. The color of the treated stone can vary
substantially, with the invention process typically producing
stones which are green to blue-green when light yellow
grossular garnet is used.

While the invention has been described in detail with
reference to certain preferred embodiments thereof, it will be
understood that modifications and variations are within the
spirit and scope of that which is described and claimed.

That which is claimed is:

1. A method for enhancing the color of gemstone(s), said
method comprising: subjecting a combination of a gemstone
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and at least one tang agent to a temperature in the range of
about 900° C. up to about 1250° C., for a time in the range
of about 3 up to about 200 hours, under conditions suitable
to enhance the color of said gemstone,

wherein said treating agent comprises a finely divided

form of cobalt or cobalt oxide, and

wherein said gemstone is topaz, quartz or garnet.

2. A method according to claim 1, wherein said treating
agent is cobalt.

3. Amethod accord to claim 1, wherein said treating agent
is cobalt oxide.

4. Amethod according to claim 1, wherein said gemstone
is cleaned prior to being subjected to said conditions suitable
to enhance the color of said gemstone.

5. A method according to claim 1, wherein subsequent to
said treatment in the presence of treating agent, said gem-
stone is subjected to a temperature in the range of about 900°
C. up to about 1250° C. for a time in the range of about 3
up to about 200 hours in the absence of said treating agent.

6. Amethod according to claim 1, wherein said gemstone
is cleaned after being subjected to said conditions suitable to
enhance the color of said gemstone.

7. Acolor enhanced gemstone prepared by the method of
claim 1.

8. A method for enhancing the color of gemstone(s), said
method comprising: subjecting a combination of a gemstone
and at least one treating agent to a temp in the range of about
900° C. up to about 1250° C., for a time in the range of about
3 up to about 200 hours, under conditions suitable to
enhance the color of said gemstone,

wherein said treating agent consists essentially of a finely

divided form of cobalt or cobalt oxide, and

wherein said gemstone is topaz, chrysoberyl, sapphire,

quartz or garnet.

9. A method according to claim 8, wherein said treating
agent is cobalt.

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10. A method according to claim 8, wherein said treating
agent is cobalt oxide.

11. Amethod according to claim 8, wherein said gemstone
is cleaned prior to being subjected to said conditions suitable
to enhance the color of said gemstone.

12. Amethod according to claim 8, wherein subsequent to
said treatment in the presence of treating agent, said gem-
stone is subjected to a temperature in the range of about 900°
C. up to about 1250° C. for a time in the range of about 3
up to about 200 hours in the absence of said treating agent.

13. A method according to claim 8, wherein said gem-
stone is cleaned after being subjected to said conditions
suitable to enhance the color of said gemstone.

14. Acolor enhanced gemstone prepared by the method of
claim 8, wherein said gemstone is topaz, quartz or garnet.

15. A color enhanced gemstone comprising a gemstone
having a color enhancing agent diffused into the outer
surface thereof, wherein said gemstone is topaz, quartz, or
garnet and said agent is cobalt and/or cobalt oxide.

16. A color enhanced gemstone according to claim 15,
wherein said enhanced color is blue-green or green.

17. Acolor gemstone according to claim 15, wherein said
gemstone is topaz, and said enhanced color is blue.

18. A color enhanced gemstone comprising a gemstone
wherein at least ihe surface has chemically bonded thereto a
color enhancing agent, wherein said gemstone is topaz,
chrysoberyl, quartz or garnet and said agent is cobalt and/or
cobalt oxide.

19. A color enhanced gemstone according to claim 18,
wherein said enhanced color is blue-green or green.

20. A color enhanced gemstone according to claim 18,
wherein said gemstone is topaz, and said enhanced color is
blue.
